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 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
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11 MORAYON SIMMONS, an individual,               CASE No. 2:20-CV-10779-RGK-E
                                                 Hon. Gary R. Klausner, Roybal, Crtrm 850
12                                               Hon. Charles F. Eick, Roybal, Crtrm 750
                 Plaintiff,
13
14         vs.                                   [PROPOSED] JUDGMENT FOR
                                                 DEFENDANT LAPD’S MOTION
15                                               FOR SUMMARY JUDGMENT
   CITY OF LOS ANGELES, a municipal
16 entity,
17
                 Defendant.
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20       On September 22, 2021, Defendant Los Angeles Police Department filed its
21 Motion for Summary Judgment, or in the alternative, Motion for Partial Summary
22 Judgment. Plaintiff opposed the Motion. Defendant filed a timely Reply to
23 Plaintiff’s Opposition. The matter was taken under submission prior to the scheduled
24 October 25, 2021 hearing date. Pursuant to the parties’ stipulation, this Court
25 previously dismissed the state law claims for malicious prosecution and negligence, as
26 well as the references to the Fifth and Eighth Amendments.
27       On November 17, 2021, this Court granted the LAPD’s Motion for Summary
28 Judgment in its entirety. In doing so, the Court dismissed, without prejudice, the City

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 1 of Los Angeles, County of Los Angeles and Jonathan Kincaid as a result of Plaintiff’s
 2 failure to timely serve them.
 3       The Court granted the LAPD’s motion for Summary Judgment as to all remaining
 4 claims. Accordingly, Judgment is hereby entered in favor of the Los Angeles Police
 5 Department and against the Plaintiff. As the prevailing party, Defendant Los Angeles
 6 Police Department, may now seek recovering of its costs and if it so elects, meet and
 7 confer with Plaintiff’s counsel, regarding a Motion for Attorneys’ fees pursuant to
 8 Local Rule 7-3 and 42 U.S.C. Section 1988.
 9       Accordingly, the Pre-Trial Conference scheduled for November 22, 2021 and Trial
10 currently scheduled for December 7, 2021, are hereby VACATED.
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13 IT IS SO ORDERED:
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15 DATED: November 17, 2021
                                         HONORABLE GARY R. KLAUSNER
16                                       UNITED STATES DISTRICT COURT JUDGE
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